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       Waste, Stop Inflation, and Crush the
       Deep State
       June 20, 2023




         Agenda47: Using Impoundment to Cut Waste, Stop Inflation, and Crush the Dee…
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       Bedminster, NJ— Today, President Donald J. Trump announced his plan to restore
       executive branch impoundment authority to cut waste, stop inflation, and crush the

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       Deep State.                                                        PLATFORM NEWS EVENTS GET INVOLVED
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       “For 200 years under our system of government, it was undisputed that the President
       had the Constitutional power to stop unnecessary spending through what is known
       as Impoundment," President Trump said.

       “Very simply, this meant that if Congress provided more funding than was needed to
       run the government, the President could refuse to waste the extra funds, and instead
       return the money to the general treasury and maybe even lower your taxes, although
       we did give you the biggest tax reduction in history, and the biggest regulation
       reduction in history, two things I am very proud of."

       President Trump’s plan will naturally lead the Executive and Legislative Branches to
       work together to negotiate and gain better control of federal spending.

       “I will use the president’s long-recognized Impoundment Power to squeeze the
       bloated federal bureaucracy for massive savings. This will be in the form of tax
       reductions for you. This will help quickly to stop inflation and slash the deficit."



       PRESIDENT TRUMP’S PLAN TO RESTORE EXECUTIVE BRANCH IMPOUNDMENT
       AUTHORITY TO CUT WASTE, STOP INFLATION, AND CRUSH THE DEEP STATE

       PRESIDENT TRUMP WILL RESTORE THE IMPOUNDMENT POWER OF THE
       EXECUTIVE BRANCH:

       - President Trump will restore the Impoundment Power, reestablishing the balance
       of power between the Legislative and the Executive branches.

       - On Day One, President Trump will direct federal agencies to identify portions of
       their budgets where massive savings are possible through the Impoundment Power,
       while maintaining the same level of funding for defense, Social Security, and
       Medicare.

       - President Trump will take action to challenge the constitutionality of limits placed
       on the Impoundment Power by the Congressional Budget and Impoundment
       Control Act of 1974 (CBA), the source of Congress’s usurpation of Executive Branch
       powers.
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       - President Trump will also work with Congress
                                              PLATFORMto overturn
                                                           NEWS the limits ofGET
                                                                  EVENTS      theINVOLVED
                                                                                  CBA.
                                                                                                     CONTRIBUTE                SHOP
       - In passing the CBA, Congress handcuffed the president from preventing wasteful
       spending.

       - The CBA dramatically limited impoundment, the power of the president to choose
       not to unnecessarily spend taxpayer dollars, forcing the executive branch to spend
       every penny of congressionally appropriated funds.

       - Under current law, the president can request rescissions of funds, but those
       requests must be approved by both houses of Congress. The president can only defer
       the use of funds in limited instances.

       - Leading constitutional scholars agree that impoundment is an inherent power of
       the president.

       - Congress has the “power of the purse,” so its appropriations necessarily set a ceiling
       on federal spending for a particular purpose, but it should not set the floor.

       - Article II of the Constitution vests the president with the inherent authority to “take
       Care that the Laws be faithfully executed,” which has historically been understood to
       mean that the president can impound funds when doing so allows him to enforce
       the law more effectively and efficiently.

       - In defense of the president’s impoundment power against attacks from Congress,
       Joseph Sneed, Deputy Attorney General under President Richard Nixon, explained
       that the use of executive impoundment “to promote fiscal stability is not usurpation;
       rather it is in the great tradition of checks and balances upon which our Constitution
       is based.”

       - Restoring the Impoundment Power will naturally lead the Executive and Legislative
       Branches to have to work together to negotiate and gain better control of federal
       spending.

       - Although Congress has the power to appropriate funds, inherent within the
       president’s power to execute the law is a measure of discretion on how funds are
       spent, because spending decisions often depend on how laws are executed in
       practice.
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       - The CBA placed crippling burdens onPLATFORM
                                               the use of impoundment
                                                            NEWS EVENTSauthority and on
                                                                           GET INVOLVED
       the president’s negotiating leverage with Congress over how taxpayer dollarsSHOP
                                                             CONTRIBUTE             are
       spent, leaving Congress with virtually unchecked budget authority.

       EXECUTIVE BRANCH’S USE OF ITS CONSTITUTIONAL IMPOUNDMENT POWER
       DATES BACK TO THE EARLIEST DAYS OF THE REPUBLIC:

       - The Executive Branch Impoundment Power traces its roots to the Jefferson
       Administration and the earliest days of the American Republic.

       - In 1803, after France refused the U.S. access to the Port of New Orleans, Congress
       appropriated funding for 15 gunboats. President Jefferson refused to spend the
       money after determining that the purchase of the gunboats would jeopardize
       negotiations with the French.

       - In his third annual message to Congress explaining why he had not purchased the
       gunboats as authorized by Congress, President Jefferson declared that a “favorable
       and peaceable turn of affairs on the Mississippi rendered an immediate execution of
       that law unnecessary.” President Jefferson used his power as the Chief Executive to
       impound congressionally appropriated funds based on his foreign policy and
       national security judgment that the use of the funds would be unwise and
       unnecessary.

       - For 170 years, from President Jefferson to President Nixon, the chief executive
       routinely used the Impoundment Power to further national interests.

       - In the 19th century, presidents James Buchanan and Ulysses S. Grant used
       impoundment in the context of domestic policy to prevent the use of funds to build
       post offices in Illinois and construct river and harbor improvements.

       - Democratic administrations, such as those of Franklin Roosevelt, Harry Truman,
       John F. Kennedy, and Lyndon B. Johnson, also exercised the Impoundment Power.

       - Today, the Impoundment Power is regularly used by 43 governors across the U.S.

       PRESIDENT TRUMP’S RESTORATION OF THE EXECUTIVE BRANCH
       IMPOUNDMENT POWER WILL BE AN EFFECTIVE TOOL IN FIGHT AGAINST
       WASTEFUL SPENDING:
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                                                                                                  the Deep State | Agenda47 of 8J. Trump
       - Since the CBA, wasteful overspendingPLATFORM
                                              has exploded out of EVENTS
                                                         NEWS     control. GET INVOLVED
                                                                                                     CONTRIBUTE                SHOP
       - Congress has run deficits in all but four years since 1974.

       - In 1974, the national debt was $475 Billion and 31 percent of the GDP. Today, it is
       $30.8 trillion and 123 percent of the GDP.

       - Since the CBA was enacted, the federal debt has never gone below its 1974 level.

       - Improper payments, payments made incorrectly by the federal government, cost
       the U.S. $247 billion in 2022.

       - The U.S. government has lost nearly $2.4 trillion in simple payment errors over the
       last two decades.

       - For 50 years, Congress has used the CBA to force the passage of gigantic, wasteful
       spending packages.

       - Since the CBA, Congress has adopted a budget resolution on time only 6 times,
       missing the deadline by an average of 40 days.

       - Congress has almost never met the CBA deadline for its 12 annual appropriations
       bills, often resorting to omnibus spending bills to rush appropriations through.

       TRANSCRIPT

       Crooked Joe Biden, our disgraced president, has wasted trillions of taxpayer dollars in
       less than three years—causing uncontrolled inflation that is crushing working
       families.

       Reining-in Biden’s wasteful and unnecessary spending is vital to stopping inflation
       and rescuing our economy from ruin. But the pain of the spending cuts must be
       borne by the special interests and Washington bureaucrats, NOT by American
       families and American seniors in particular.

       For 200 years under our system of government, it was undisputed that the President
       had the Constitutional power to stop unnecessary spending through what is known
       as Impoundment.

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       Very simply, this meant that if CongressPLATFORM
                                                provided more   funding
                                                             NEWS   EVENTSthan was
                                                                                 GETneeded
                                                                                      INVOLVEDto
       run the government, the President could refuse to waste    the extra funds, andSHOP
                                                              CONTRIBUTE                  instead
       return the money to the general treasury and maybe even lower your taxes, although
       we did give you the biggest tax reduction in history, and the biggest regulation
       reduction in history, two things I am very proud of. And they still are there, although
       they are disappearing rapidly under Biden.

       Thomas Jefferson famously used this power, as did many other presidents until it
       was wrongfully curtailed by the Impoundment Control Act of 1974 – not a very good
       act. This disaster of a law is clearly unconstitutional—a blatant violation of the
       separation of powers.

       When I return to the White House, I will do everything I can to challenge the
       Impoundment Control Act in court, and if necessary, get Congress to overturn it. We
       will overturn it.

       I will then use the president’s long-recognized Impoundment Power to squeeze the
       bloated federal bureaucracy for massive savings. This will be in the form of tax
       reductions for you. This will help quickly to stop inflation and slash the deficit.

       To prepare for this eventuality, on Day One, I will order every federal agency to begin
       identifying large chunks of their budgets that can be saved through efficiencies and
       waste reduction using Impoundment.

       Of course, this will not include national defense and, unlike Ron DeSanctimonious,
       who doesn’t really know what is happening, I will not lay a finger on Medicare or
       Social Security. He wants to destroy Social Security and basically obliterate Medicare.
       These are benefits for our seniors. We are not going to touch it. There are many other
       things we can do. We are not going to let Ron DeSanctus do anything to hurt
       Medicare or Social Security.

       On the contrary, some of the funds we save through Impoundment from other parts
       of the government can be used to strengthen Medicare and Social Security for years
       to come.

       Reasserting the president’s historic Impoundment authority will also restore critical
       negotiating leverage with Congress to keep spending under control. Very simple. We
       are going to keep spending under control.
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       We had it done and then Covid came inPLATFORM
                                               and we hadNEWS
                                                            to do some  thingsGET
                                                                    EVENTS     to help save
                                                                                   INVOLVED
       our country. We did a great job. But we were starting to make lots of money.SHOP
                                                              CONTRIBUTE             We were
       Energy Independent. We were going to be Energy Dominant. We were going to be
       taking in massive amounts of money from the liquid gold that we have under our
       feet. More than any other nation. And we were going to reduce taxes and pay off
       debt.

       This is the ONLY way we will ever return a balanced budget: Impoundment.

       Just as importantly, bringing back Impoundment will give us a crucial tool with
       which to obliterate the Deep State, Drain the Swamp, and starve the Warmongers –--
       these people that want wars all over the place; killing, killing, killing, they love killing -
       -- and the Globalists out of government.

       We are going to get the Warmongers and the Globalists out of our government.

       With Impoundment, we can simply choke off the money.

       This policy is anti-inflation, anti-Swamp, anti-globalist—and it’s pro-growth, pro-
       taxpayer, pro-American, and pro-freedom.

       I alone can get that done. I will get it done and Make America Great Again.

       Thank you very much.




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